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                  NANOMETRICS INCORPORATED, now known as
              8   ONTO INNOVATION INC.

              9                              UNITED STATES DISTRICT COURT

             10                         NORTHERN DISTRICT OF CALIFORNIA

             11                                   SAN JOSE DIVISION

             12

             13   OPTICAL SOLUTIONS, INC. a New                Lead Case No. 5:18-cv-00417-BLF
                  Hampshire corporation,                       Case No. 5:18-cv-03276
             14
                                Plaintiff,                     DECLARATION OF JOHN LEON IN SUPPORT
             15                                                OF DEFENDANT NANOMETRICS INC.’S
                       v.                                      MOTION FOR SUMMARY JUDGMENT
             16
                  NANOMETRICS INCORPORATED, a
             17   Delaware corporation,

             18                 Defendant.

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                                                                            DECLARATION OF JOHN LEON ISO
                                                          1.               NANOMETRICS’ MOT. FOR SUMM. J.
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              1          I, John Leon, declare as follows:

              2          1.      I have personal knowledge of the facts set forth herein, and if called as a witness, I

              3   could and would competently testify thereto.

              4          2.      I was the Vice President of Worldwide Operations at Nanometrics, Inc., now known

              5   as Onto Innovation, Inc. (“Nanometrics”), from approximately March 2011 until October 2016.

              6   Among other responsibilities, I oversaw supply chain management and purchasing until February

              7   or March 2015, at which point I was no longer responsible for negotiating delivery schedules or

              8   pricing for the OSI lenses.

              9          3.      As part of my job responsibilities as a Nanometrics employee, I routinely emailed

             10   suppliers, including OSI, and other Nanometrics personnel in the regular course of my work. I

             11   retained these emails on my Nanometrics account. The emails I sent or received described below

             12   were made at or near the time of my communication and kept in the course of Nanometrics’

             13   regularly conducted business activities. Sending and receiving these emails was a regular practice

             14   of Nanometrics’ and my business activities as the Vice President of Worldwide Operations at

             15   Nanometrics.

             16   Industry Background

             17          4.      Nanometrics manufactures and sells semiconductor metrology equipment, or

             18   “tools.” Optical lenses are among the critical parts integrated into Nanometrics’ tools. Nanometrics

             19   competes against other semiconductor metrology equipment companies to sell its tools to

             20   semiconductor manufacturing companies, such as Taiwan Semiconductor Manufacturing Company

             21   (“TSMC”) and Samsung.         Every few years, the semiconductor industry develops the next

             22   generation of semiconductor wafer technology, also called a “node.”           With each node, the

             23   semiconductor chips get smaller and more technologically sophisticated, and new metrology

             24   equipment is required to measure those semiconductor wafers.

             25          5.      Nanometrics seeks to win the customer’s business for the next node by

             26   demonstrating that its tool meets the customer’s performance and commercial requirements before

             27   its competition. The customer ultimately selects one metrology system as the “tool of record” to

             28   measure all semiconductor wafers in that node. By selecting a single tool of record, the customer
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              1   ensures accuracy and consistency across all semiconductor wafers for the lifespan of that node, a

              2   concept also referred to as “copy exact.” Because consistency over time and across wafers is so

              3   critical, it is very rare for a customer to switch suppliers during a given node because such changes

              4   might lead to inconsistent measurements.

              5          6.      As a result of these industry dynamics, when Nanometrics’ tool is chosen as the tool

              6   of record, it becomes the exclusive supplier of the customer’s tool needs for the life of the node.

              7   On the other hand, if Nanometrics does not meet the customer’s performance and commercial

              8   requirements in a timely manner (i.e., by the time that the customer is ready to select its tool of

              9   record), then Nanometrics loses that business to a competitor. Because the customer will keep the

             10   competitor’s tool in place for purposes of copy exact, Nanometrics would be blocked from further

             11   business with that customer for the rest of the node. Thus, if Nanometrics fails to timely deliver a

             12   tool that meets the customer requirements for a given node, Nanometrics loses many years’ worth

             13   of business with that customer. Also, because the incumbent for a particular tool typically has an

             14   advantage, missing a node makes it harder to win the next node for that customer.

             15   The 25 Micron Solution for the TSMC Node

             16          7.      In 2013, Nanometrics was competing to win tool of record for TSMC’s next node.

             17   In order to win the TSMC business, Nanometrics needed to demonstrate that its tool could measure

             18   a 25 micron spot size by the end of 2013, when TSMC planned to make its tool selection.

             19   Demonstrating that capability required two 25 micron prototype optical lenses meeting

             20   Nanometrics’ specifications before December 2013.

             21   OSI’s July 2013 Quote for 25 Micron Lenses

             22          8.      On July 9, 2013, Mr. Piccirillo sent me OSI’s quote to design and build the 25

             23   micron lenses needed for the TSMC opportunity (“July 2013 Quote”). A true and correct copy of

             24   the July 9, 2013 email Mr. Piccirillo sent me with the July 2013 Quote is attached as Exhibit 13 to

             25   the Smith Declaration.

             26          9.      In his email transmitting the July 2013 Quote, Mr. Piccirillo stated that the lens OSI

             27   designed was “a thing of beauty” and he knew “of no other that can make such a lens.” Mr. Piccirillo

             28   also said that OSI could deliver the first sixteen 25 micron lenses in twenty weeks, which at that
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              1   point, meant delivery by the end of November 2013, consistent with Nanometrics’ needs for the

              2   TSMC node.

              3          10.     OSI did not share its design prescription with Nanometrics, but Mr. Piccirillo

              4   assured me and others in a follow-up email on July 9, 2013 that OSI’s 25 micron lens “design

              5   simply meets ALL of your specs,” including the 25 micron spot size requirement, and that OSI was

              6   ready to move forward with a purchase order to build and deliver 24 prototype lenses. A true and

              7   correct copy of the email Mr. Piccirillo sent me on July 9, 2013 is attached as Exhibit 14 to the

              8   Smith Declaration.

              9          11.     A couple weeks later, on July 26, 2013, Mr. Piccirillo sent me an email repeating

             10   that OSI’s design met all specifications, including spot size, and committed to deliver “8-12 sets”

             11   (16 to 24 lenses) by mid-December. A true and correct copy of the July 26, 2013 email Mr.

             12   Piccirillo sent me is attached as Exhibit 15 to the Smith Declaration.

             13          12.     OSI’s July 2013 Quote proposed financial terms for OSI’s delivery of prototype

             14   lenses, production lenses and non-recurring engineering expenses (“NRE”) as follows (Ex. 13):

             15                        •   $35,350 each for the first sixteen prototype lenses

             16                        •   $29,870 each for the next twenty-four prototype lenses

             17                        •   $54,350 in NRE for the prototype lenses

             18                        •   $17,460 each for 100-240 production lenses

             19                        •   $15,320 each for more than 240 production lenses

             20          13.     OSI’s July 2013 Quote also stated that a “price reduction is possible with $1.3M

             21   Nanometrics capital investment to OSI. This cost covers dedicated machines and other necessary

             22   manufacturing considerations,” and OSI would “have complete ownership of these investments,

             23   without tax burden.” (Ex. 13.) In exchange for buying $1.3 million in unidentified manufacturing

             24   equipment for OSI, Nanometrics would get an (undisclosed) lower price if Nanometrics bought

             25   240 or more production lenses, the highest volume OSI offered.

             26          14.     As part of his pitch to design and build the 25 micron lenses for Nanometrics, Mr.

             27   Piccirillo told me that OSI had sufficient manufacturing capabilities to meet all of Nanometrics’

             28   needs. A true and correct copy of the email Mr. Piccirillo sent to me on June 26, 2013 is attached
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              1   as Exhibit 16 to the Smith Declaration. Based on Mr. Piccirillo’s representations, I saw no reason

              2   to buy manufacturing equipment for OSI. Furthermore, if OSI proved unable to build lenses that

              3   met specifications on time, there would be no reason to order production lenses from OSI that

              4   would justify any additional manufacturing equipment. We declined Mr. Piccirillo’s offer for

              5   Nanometrics to contribute $1.3 million to OSI.

              6   25 Micron Purchase Order

              7           15.   On August 7, 2013, Nanometrics issued a purchase order to OSI for twenty-four 25

              8   micron prototype lenses to be delivered by December 10, 2013 (“25 Micron Purchase Order”). A

              9   true and correct copy of the email Mr. Schmid sent to me on August 7, 2013 with the 25 Micron

             10   Purchase Order is attached as Exhibit 17 to the Smith Declaration.

             11           16.   Nanometrics issued the 25 Micron Purchase Order in reliance on OSI’s

             12   representations in the July 9, 2013 Quote and Mr. Piccirillo’s other assurances that OSI could

             13   deliver lenses that met all of Nanometrics’ specifications in 20 weeks, so that Nanometrics could

             14   use those lenses to demonstrate its tool’s 25 micron spot size capabilities to TSMC by the end of

             15   2013.

             16           17.   In the 25 Micron Purchase Order, Nanometrics agreed to pay OSI $29,870 each for

             17   six prototype lenses, and $23,665 for each of the remaining eighteen lenses on the order.

             18   Nanometrics also agreed to pay OSI $54,350 for NRE for the 25 micron prototype lenses—the

             19   amount OSI requested in the July 2013 Quote. A true and correct copy of the email Mr. Piccirillo

             20   sent me on August 7, 2013 attaching the invoice for NRE for the 25 micron prototype lenses is

             21   attached as Exhibit 18 to the Smith Declaration.

             22           18.   OSI agreed to the terms of the 25 Micron Purchase Order. A true and correct copy

             23   of the email Mr. Piccirillo sent me on August 7, 2013 accepting the 25 Micron Purchase Order is

             24   attached as Exhibit 19 to the Smith Declaration. This 25 Micron Purchase Order constituted a

             25   binding contract between Nanometrics and OSI.

             26   Addendum to Purchase Order

             27           19.   On September 9, 2013, Nanometrics’ Chief Operating Officer at the time, Bruce

             28   Crawford, signed a document entitled “Addendum to Purchase Order” (the “Addendum”). (Ex. 41.)
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              1   I was involved in the discussions with Mr. Piccirillo regarding the Addendum and I am familiar

              2   with the terms.

              3          20.        The Addendum reflected the routine bidding process and practice in the industry for

              4   suppliers of critical parts for Nanometrics metrology systems. Just as Nanometrics had to compete

              5   to win its customers’ business as the tool of record, Nanometrics’ suppliers had to compete to win

              6   its business as the supplier of record for critical parts within the tool. If Nanometrics is selected as

              7   tool of record, then all of the component parts within its tool are also locked in to maintain copy

              8   exact. So, before selecting a supplier of record to be installed in the tool of record, Nanometrics

              9   must be confident that the supplier meets its technical requirements on a consistent and dependable

             10   basis, complies with the delivery schedule, and will offer its products at an acceptable price for the

             11   life of the node. A supplier that fails to meet these conditions introduces unacceptable risk to the

             12   success of Nanometrics’ tool and its business with its customer.

             13          21.        In order to meet the conditions for exclusivity as supplier of record, both according

             14   to the Addendum and in general practice, OSI would have to deliver its 25 micron lenses by the

             15   date of completion—December 10, 2013, pursuant to the 25 Micron Purchase Order—that met

             16   Nanometrics’ design specifications and commercial product performance specifications, which

             17   include acceptable price, lead time, quantity, and quality. When the Addendum was signed,

             18   December 10, 2013 was the only deadline that applied to the OSI 25 micron lenses.

             19          22.        The five “small spot” lenses listed in Section 2.2 of the Addendum were the specific

             20   lenses that Nanometrics expected to need to meet future customer demand, as identified by lens

             21   type, lens element count, wavelength, and product. The second lens in Section 2.2 refers to the 25

             22   micron lens that OSI was working on at the time. The 40 micron lens that OSI was working on is

             23   not included in the definition of small spot lenses in Section 2.2.

             24          23.        The Addendum documented the conditions by which OSI could have the

             25   opportunity to compete for the business, but it did not require OSI to manufacture any lenses for

             26   Nanometrics. OSI’s failure to meet these conditions—either by not trying in the first place, or

             27   trying and failing to meet the specifications on time—would result in OSI not being chosen as the

             28   supplier of record for a given lens. Or if it turned out that there was no customer demand for a
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              1   particular lens or tool, then there would be no commercial need for Nanometrics to buy that lens

              2   from OSI. But if OSI did meet the conditions—the technical specifications and the commercial

              3   requirements, including price and lead time— and there was customer demand for the lens and the

              4   tool, then Nanometrics would select OSI to be the supplier of record for that lens in that tool.

              5          24.     It was Nanometrics’ practice to dual source potential suppliers on critical parts, and

              6   the Addendum did not prevent Nanometrics from seeking a second supplier for optical lenses.

              7   Because customers demanded optimal performance in compressed time frames, Nanometrics

              8   needed multiple supplier options in development in case a supplier could not meet the conditions.

              9   Otherwise, if Nanometrics single sourced critical parts like the lenses, it would be at an

             10   unacceptable risk of losing an entire node of business.

             11   OSI Did Not Deliver 25 Micron Lenses by the Date of Completion
             12          25.     December 10, 2013 was the date of completion referenced in the Addendum. It was

             13   the only deadline OSI had at that time for the 25 micron lens, and it was the deadline that OSI had

             14   to meet in order to give Nanometrics a chance to install lenses into its tool and ship to TSMC for a

             15   demonstration before TSMC would make its purchasing decision.

             16          26.     On November 25, 2013, just two weeks before the December 10, 2013 date of

             17   completion, Mr. Piccirillo told me that OSI would not meet that deadline, and instead would deliver

             18   its first set of lenses two months later, in February 2014. A true and correct copy of this email

             19   thread is attached as Exhibit 20 to the Smith Declaration.

             20          27.     In his November 25, 2013 email to me, Mr. Piccirillo explained that OSI would not

             21   finish the lenses in time because the “optics are turning out to be much more difficult to fabricate

             22   than we originally expected,” and noted that his employees were demanding time off and Mr.

             23   Piccirillo wanted to “utilize resources in an effort to minimize [OSI’s] financial losses” that year.

             24   (Ex. 20.) I begged him repeatedly to get delivery back on track in December 2013, because the

             25   “schedule slip to February 2014 causes unwelcomed jeopardy to our business.” After my many

             26   emails to Mr. Piccirillo, Tony Beddard, then Vice President of Nanometrics Engineering / R&D,

             27   emailed Mr. Piccirillo on November 26, 2013. I received this email as well. Mr. Beddard implored

             28   Mr. Piccirillo to deliver “a solution in December, whatever it takes,” and offered to discuss covering
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              1   the cost of outsourcing to speed the process, making it clear that Nanometrics has “one shot at this,”

              2   because “it’s all about hitting the target before the buck is lost in the distance.”

              3          28.     However, despite our pleas, Mr. Piccirillo sent me an email on November 26, 2013

              4   in which he refused to outsource the work to speed the process, and instead demanded more time

              5   for his shop (who were taking vacations) to deal with the difficulties that they were facing with the

              6   lens. A true and correct copy of the email Mr. Piccirillo sent me on November 26, 2013 is attached

              7   as Exhibit 21 to the Smith Declaration.

              8          29.     Mr. Piccirillo demanded more time, beyond the 20 weeks he quoted and the date of

              9   completion to which OSI agreed, and that was not time that Nanometrics could give. TSMC was

             10   expecting to evaluate Nanometrics’ tool by the end of the year. By delaying its lens delivery OSI

             11   forced Nanometrics to delay its intended tool shipment to TSMC.

             12          30.     OSI did not deliver any lenses by the December 10, 2013 date of completion. Even

             13   though OSI missed this deadline, I continued to push OSI to deliver lenses as soon as possible with

             14   the hope that we would not lose the TSMC business. On December 13, 2013, I emailed Mr.

             15   Piccirillo the list of shipment dates Mr. Piccirillo had committed to during our discussion that same

             16   day, including 25 micron lens delivery dates on January 28 and 31, 2014. I asked Mr. Piccirillo to

             17   “confirm that this is the committed schedule,” and he wrote back to confirm “[t]his schedule looks

             18   fine to me...” A true and correct copy of the December 13, 2013 emails I exchanged with Mr.

             19   Piccirillo are attached as Exhibit 22 to the Smith Declaration.

             20          31.     OSI delivered its first two 25 micron lenses on February 14, 2014, two months after

             21   the date of completion. A true and correct copy of the February 13, 2014 email from Andrew

             22   Dugrenier of OSI to me and others at Nanometrics reporting that the first set of 25 micron lenses

             23   had shipped is attached as Exhibit 23 to the Smith Declaration.

             24          32.     Nanometrics revised the 25 Micron Purchase Order to reflect the reality of OSI

             25   having missed deadlines, not because Nanometrics did not need the lenses. The revised purchase

             26   orders were not intended to be an extension of the date of completion in the Addendum;

             27   Nanometrics wanted and needed the lenses to be delivered in December 2013.

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              1   OSI Did Not Deliver 25 Micron Lenses that Met Design Specifications

              2          33.     When OSI failed to deliver lenses by the December 10, 2013 date of completion,

              3   Nanometrics was forced to delay its tool delivery to TSMC. Nanometrics committed to TSMC that

              4   it would ship an Atlas II+ tool with a 25 micron solution by March 7, 2014.

              5          34.     The first two 25 micron lenses that OSI shipped to Nanometrics in February 2014,

              6   two months after the December 2013 deadline, did not meet the lateral color specifications. OSI

              7   struggled for many months thereafter to meet the lateral color specification, which delayed OSI’s

              8   delivery of lenses for Nanometrics to test and use for TSMC. A true and correct copy of the email

              9   Mr. Dugrenier sent to me and others on June 4, 2014 is attached as Exhibit 24 to the Smith

             10   Declaration. This email thread shows OSI’s ongoing struggles to meet Nanometrics’ specifications.

             11          35.     Because OSI’s first lenses failed to meet the lateral color specification, Nanometrics

             12   intended to ship to TSMC three upgrade kits with OSI 25 micron lenses that met the lateral color

             13   (and other) specifications to show that Nanometrics could deliver a 25 micron solution. On March

             14   25, 2014, Mr. Beddard emailed me about the plan to send upgrade kits to TSMC, and asked if I was

             15   aligned on the required dates. Nanometrics planned to ship these upgrade kits by April 30, 2014,

             16   to be installed at TSMC on May 12, June 2, and July 1, 2014. I responded to Mr. Beddard, “I am

             17   aligned on the required dates. The lenses are on order but OSI is struggling with producing good

             18   lenses with acceptable lateral color.” A true and correct copy of my March 25, 2014 exchange with

             19   Mr. Beddard is attached as Exhibit 25 to the Smith Declaration.

             20          36.     However, throughout the spring and summer of 2014, OSI kept pushing back its

             21   committed ship dates for subsequent sets of lenses due to its inability to meet the lateral color

             22   specification. For example, between April 11 and April 14, 2014, OSI and Nanometrics exchanged

             23   a series of emails in response to OSI’s report that its latest lens was measuring 7 micron lateral

             24   color, well above the maximum permitted by specification. I was included on these emails, and

             25   asked OSI to ship the out-of-spec lens so that Nanometrics could validate the test results. True and

             26   correct copies of these emails exchanged between April 11 and April 14, 2014 are attached as

             27   Exhibit 26 to the Smith Declaration.

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              1          37.     In May 2014, OSI continued to push back the next lens delivery date, stating that it

              2   was unable to build a lens that met the lateral color and transmitted wavefront error specifications

              3   simultaneously. On May 8, 2014, Mr. Dugrenier of OSI confirmed that OSI would not meet the

              4   May 9 ship date, and Billy Huang of Nanometrics asked him to use “best efforts” and provide a

              5   new target ship date. When Mr. Dugrenier’s new ship date was not until May 22, Mr. Huang

              6   cautioned that the “May 22nd ship date will severely jeopardize our customer commitment.” A

              7   true and correct copy of this email exchange between Mr. Dugrenier and Mr. Huang, which I

              8   received, is attached as Exhibit 27 to the Smith Declaration.

              9          38.      On June 4, 2014, Mr. Dugrenier reported to me, Mr. Huang, and others that OSI

             10   would not meet its June 6 ship date, again because OSI was “battling the balance between

             11   transmitted wavefront and lateral color,” noting “[w]e’re able to get both – just having trouble

             12   getting them together!” Mr. Dugrenier proposed the new ship date of June 13, and Mr. Huang

             13   responded that date will not work, as “[i]t is impacting our Q2 commitment to our customer.” A

             14   true and correct copy of this email exchange is attached as Exhibit 28 to the Smith Declaration.

             15          39.     Despite Nanometrics’ repeated efforts to urge OSI to deliver conforming lenses

             16   faster, OSI was unable to ship lenses that met Nanometrics’ specification by April 30, May 12, June

             17   2 or July 1, 2014, the dates Nanometrics needed to complete and ship the upgrade kits to TSMC.

             18          40.     On July 9, 2014, I told Mr. Piccirillo that Nanometrics had not yet qualified the 25

             19   micron OSI lenses, so we needed “3 sets of T1 and T2 25 micron lenses as soon as possible for

             20   [N]anometrics to test and qualify.” A true and correct copy of the email I sent to Mr. Piccirillo on

             21   July 9, 2014 is attached as Exhibit 29 to the Smith Declaration.

             22          41.     I never told Mr. Piccirillo that there was no deadline for OSI’s delivery of 25 micron

             23   prototype lenses or that the original deadlines changed. I told Mr. Piccirillo that we needed these

             24   three lens sets as soon as possible.

             25   OSI Did Not Meet Commercial Specifications

             26          42.     On June 18, 2014, Mr. Piccirillo sent me a new quote for production units of OSI’s

             27   25 micron lenses (“June 2014 Quote”). A true and correct copy of the email Mr. Piccirillo sent to

             28   me on June 18, 2014 with the June 2014 Quote is attached as Exhibit 30 to the Smith Declaration.
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              1   The June 2014 Quote sought $29,850 for each T1 25 micron production lens and $29,890 for each

              2   T2 25 micron production lens, and added $436,000 in production NRE, with no explanation as to

              3   what the NRE would cover. OSI also quoted 26-30 weeks for initial shipment of production lenses.

              4          43.        Despite failing to deliver prototype lenses on time that met specifications, OSI’s

              5   June 2014 Quote proposed to nearly double its production prices from its July 2013 Quote, add

              6   more than $400,000 in unexplained NRE, and add two months to the lead time. These commercial

              7   terms were unacceptable and did not meet Nanometrics’ commercial product performance

              8   specifications.

              9          44.        On June 18, 2014, I emailed Dan Thompson of Nanometrics to ask if there had been

             10   a change to the performance specifications that would justify these drastic price increases. He told

             11   me there had been no change to the specifications, and was confused why OSI would be asking for

             12   more NRE, since Nanometrics already paid $54,350 for prototype design costs. True and correct

             13   copies of the emails Dr. Thompson and I exchanged on June 18, 2014 are attached as Exhibit 31

             14   to the Smith Declaration.

             15          45.        On July 8, 2014, I emailed Mr. Piccirillo and asked him to explain these price and

             16   lead time increases, and the addition of NRE. A true and correct copy of my email exchange with

             17   Mr. Piccirillo on July 8-9, 2014 is attached as Exhibit 32 to the Smith Declaration. Mr. Piccirillo

             18   responded to say that the price did not go up. This was not accurate, because his July 2013 Quote

             19   for production units ranged from $15,320 to $17,460, depending on volume, and the July 2014

             20   Quote sought $29,000 for each lens. As for the $436,000 in NRE, Mr. Piccirillo said that this was

             21   the cost to pay for the “appropriate manufacturing means for creating a lens that meets both

             22   .025TWF and 2 microns lateral color.” However, those were the same specifications Mr. Piccirillo

             23   said the lens achieved exactly one year earlier, and for which OSI had sufficient manufacturing

             24   capabilities. In response, I wrote that we apparently had “a difference of understanding” of the

             25   commercial terms, as I had not agreed to any increase in price or NRE cost for the 25 micron lens,

             26   and because OSI’s production and NRE costs had increased so significantly, Nanometrics had not

             27   planned for this in its cost model for the product.

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              1          46.     Mr. Piccirillo admitted that Nanometrics did not agree to pay NRE, and “the risk of

              2   doing the cash on this stuff [he] bought was solely on [his] hook.” (Ex. 32.) But after saying that

              3   additional manufacturing needs were “solely on [his] hook,” Mr. Piccirillo was now seeking to push

              4   that burden onto Nanometrics through additional NRE. I never agreed to pay additional NRE on

              5   behalf of Nanometrics.

              6          47.     On July 10, 2014, Mr. Piccirillo tried to rush Nanometrics into issuing a purchase

              7   order for the 25 micron production lenses, despite OSI’s failure to produce prototype lenses that

              8   met Nanometrics’ specifications. A true and correct copy of my email exchange with Mr. Piccirillo

              9   on July 10, 2014 is attached as Exhibit 33 to the Smith Declaration. Mr. Piccirillo’s email said that

             10   he would only “hold this offer till the end of business Friday 7/11,” the next day. Mr. Piccirillo’s

             11   June 2014 Quote had nearly doubled the production unit price from the July 2013 Quote. In

             12   response, I reminded him that “Up to now we do not have a good working set of 25micron T1 and

             13   T2 lenses from OSI,” which we need in order to test for qualification against specification. I also

             14   reminded him that:

             15                  We have PO coverage for 12 sets and I am sure you can agree that
                                 before we can transition to production we must have a working
             16
                                 solution. In the production volumes we do not understand and do
             17                  not have agreement on a price increase in Lenses nor in NRE.
                                 Original quote for NRE was $54,350. The most recent proposal
             18                  increases the NRE to $436K ($381,650 increase) the production cost
                                 of the actual lens[] increases from $17,460 to $29,890 ($12,430
             19                  increase). [T]his most recent proposal is a gap in understanding that
             20                  we need to clear up. We need your help to reach a cost model that
                                 allows Nanometrics to be competitive in our market space.
             21          48.     At this point, OSI was the supplier of record for the 40 micron lens, but was seeking
             22   to raise the 40 micron price further, despite an existing purchase order for those 40 micron lenses.
             23   I was concerned that Mr. Piccirillo would withhold the supply of 40 micron lenses that Nanometrics
             24   needed for tools it was sending to customers if I did not agree to Mr. Piccirillo’s demands on the
             25   25 micron lenses. He had threatened to do so once before – on February 6, 2014, Mr. Piccirillo
             26   warned that OSI would not ship any lenses if OSI did not receive payments that were 7 days past
             27   due. A true and correct copy of the email Mr. Piccirillo sent me on February 6, 2014 is attached as
             28   Exhibit 34 to the Smith Declaration. Because of Mr. Piccirillo’s threats, I agreed to raise the price
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              1   for the remaining eighteen prototype 25 micron lenses on the 25 Micron Purchase Order from

              2   $23,665 to $29,890 each.

              3          49.     This price increase initiated the fourth revision to the 25 Micron Purchase Order

              4   (“25 Micron Purchase Order Rev 4”), which was issued on or around September 15, 2014. A true

              5   and correct copy of Mr. Schmid’s September 15, 2014 email to me, Mr. Piccirillo, and others with

              6   the 25 Micron Purchase Order Rev 4 is attached as Exhibit 35 to the Smith Declaration. The 25

              7   Micron Purchase Order Rev 4 includes a deadline of September 30, 2014, for the remaining 18

              8   lenses that OSI still had not shipped, nearly one year after the December 10, 2013 date of

              9   completion. The delivery date on this purchase order was not intended to amend the Addendum or

             10   change the date of completion in the Addendum. That date was December 10, 2013, and OSI

             11   missed it.

             12          50.     Yet despite Nanometrics’ agreement to raise prices on the remaining 25 micron

             13   prototype lenses, on September 23, 2014 Mr. Piccirillo still threatened to stop delivering the 40

             14   micron lens, demanding “an arrangement to finish up this 20 set requirement . . . then we’ll both

             15   call it a day with each other.” A true and correct copy of the email Mr. Piccirillo sent to me on

             16   September 23, 2014 is attached as Exhibit 36 to the Smith Declaration. Ultimately, Mr. Piccirillo

             17   and I reached agreement on the 40 micron lens pricing. However, we did not reach any agreement

             18   on commercial terms for the 25 micron production lens.

             19   Nanometrics Lost the 25 Micron TSMC Business Due to OSI’s Delays.

             20          51.     As discussed above, OSI did not deliver conforming lenses by the date of completion

             21   or in time for Nanometrics to ship upgrade kits to TSMC. On September 4, 2014, I spoke with Mr.

             22   Piccirillo and told him that Nanometrics had missed the timeline and therefore missed the 25 micron

             23   business opportunity. Mr. Piccirillo emailed me later that same day, acknowledging that he was

             24   “disappointed since our conversation in hearing that Nano was too late to market with a proven 25

             25   micron solution”—the 25 micron lens solution that OSI did not deliver in time. A true and correct

             26   copy of the email Mr. Piccirillo sent me on September 4, 2014 is attached as Exhibit 82] to the

             27   Smith Declaration.

             28
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              1   OSI’s January 2015 Quote for 25 Micron Lenses.

              2          52.     Months after I told Mr. Piccirillo that Nanometrics had lost the TSMC business for

              3   the 25 micron node, Mr. Piccirillo sent me another quote on January 15, 2015 (“January 2015

              4   Quote”). A true and correct copy of the January 2015 Quote that Mr. Piccirillo sent to me on

              5   January 15, 2015 is attached as Exhibit 37 to the Smith Declaration. In the January 2015 Quote,

              6   the price for each production lens was over $22,000, still a significant increase from the $17,460

              7   production unit price in OSI’s July 2013 Quote, and OSI still demanded $436,000 in NRE.

              8          53.     In response, I told Mr. Piccirillo on February 6, 2015 that the production price

              9   increases from the initial quote were unacceptable and that the price was “still too much of a hurdle

             10   for commercial value to offset the tool market value.” A true and correct copy of the email I sent

             11   to Mr. Piccirillo on February 6, 2015 is attached as Exhibit 38 to the Smith Declaration. During

             12   my tenure as Vice President of Worldwide Operations, Nanometrics did not accept any of OSI’s

             13   pricing proposals for the 25 micron production lens, as the pricing was higher than OSI had

             14   originally quoted and was much too high for Nanometrics’ tool. Further, OSI had not delivered a

             15   prototype lens that met Nanometrics’ specifications.

             16          54.     On February 26, 2015, Mr. Piccirillo added me to an email chain where Mr. Schmid

             17   of Nanometrics and Rich Trissel of OSI were discussing the 40 micron lens. A true and correct

             18   copy of the February 26, 2015 email thread is attached as Exhibit 39 to the Smith Declaration. In

             19   the email, Mr. Schmid asked Mr. Trissel if the next 40 micron lens or set was still on schedule to

             20   ship that week, and Mr. Trissel responded that the delivery would be the following week. Mr.

             21   Schmid wrote back to say this was “not good,” and explained that OSI needed to start shipping two

             22   or more sets each week. Against this background, Mr. Piccirillo wrote to me to say that “what Jim

             23   is asking for represents significant costs to OSI,” and “[b]efore I discuss this with Rich, I want to

             24   know from you, where do we stand with the production order for the 25 micron lens?” I wrote

             25   back to remind Mr. Piccirillo that Nanometrics had been asking for 2 sets of 40 micron lenses per

             26   week since January, that he had assured me that OSI would timely deliver, yet “2 per week has not

             27   happened and we fall further behind.” I also told him that the 25 micron project was “on hold for

             28   now.” Shortly after I conveyed this to Mr. Piccirillo, my job responsibilities at Nanometrics
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              1   changed and I was no longer responsible for the supply chain. Ingo Riedl was the Nanometrics

              2   employee who assumed supply chain and purchasing responsibilities after me.

              3               55.    Mr. Piccirillo did not tell me that he intended to purchase another optical lens

              4   manufacturing company, let alone that he intended to purchase that company in order to meet the

              5   anticipated manufacturing demands of Nanometrics’ 25 micron lenses. I have learned through the

              6   course of OSI’s litigation against Nanometrics that Mr. Piccirillo purchased an optical lens

              7   manufacturing company in July 2015, after I told him that Nanometrics lost the TSMC business

              8   and the 25 micron project was on hold.

              9               I declare under penalty of perjury that the foregoing is true and correct. Executed on

             10   March 1, 2023 in Lathrop, California.

             11                                                               /s/ John Leon
                                                                               John Leon
             12

             13                                       CIVIL L.R. 5-1 (H)(3) ATTESTATION
             14               Pursuant to Civil Local Rule 5-1 (h)(3), I, Amy M. Smith, hereby attest under penalty of
             15   perjury that concurrence in the filing of this document has been obtained from all signatories.
             16   Dated: March 1, 2023                                     COOLEY LLP
             17                                                             /s/ Amy M. Smith
             18                                                             Amy M. Smith
                  279787638

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